
William J. Steffan appeals from an amended judgment, transferring custody of his minor child to Nancy Conkins, the child's mother, if Steffan moves to Dickinson, and awarding Conkins attorney's fees. See Wright v. Wright, 431 N.W.2d 301
(N.D. 1988).
The custody determination is not clearly erroneous and we affirm under NDRAppP 35.1(a)(2).
The trial court did not abuse its discretion in awarding Conkins attorney fees and we affirm under NDRAppP 35.1(a)(4).
Both parties requested attorney fees on appeal. Although we have concurrent jurisdiction with the trial court to award attorney fees on appeal, we prefer that the trial court decide the issue. Gronland v. Gronland, 527 N.W.2d 250 (N.D. 1995). We remand for a decision on the amount of attorney fees, if any, to be awarded for this appeal.
VANDE WALLE, C.J., and LEVINE, SANDSTROM, NEUMANN and MESCHKE, JJ., concur. *Page 366 